se , 1g-tnd-02178-CJB-SS Document. 983-3 Filed 01/12/11 Page 1 of 3
_.o8IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM’

S thorized by Order of the Court, Civil Action No, 10 md 2178 Rec. Doc, 982
‘(Coples of said Order having aiso been filled In Civi] Actions No. 10-9888 and 10-2771)

JUDGE CARL BARBIER
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By 8 document, | am asuerting a claim in Complaint end Petition of Triton Asset Lessing Gmbh, et
al, No. 10-2774; adopt and incorporate the Master Answer [Rec, Doc. 244] to the Complaint and Petition of Triton
Assot Leasing Gmbh, et al., in No, 10-2774; and/or Intervene into, in and otherwise adopt the Master Complaint
[Rec. Doc, 879} for private economic losses ("Bt Bundle”) filed in MDL No. 2178 (10 md 2179): and/or intervene
jnto, Jain and otherwise adopt the Master Complaint [Rec, Doc. 681] for post-expiceion injuries (“B3 Bundia”)

filed in MDL No, 2179 (10 md 2479).

 BOSINESS-CLAIM <0:

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yes O Claim Filed wih Gccr?: YES (7

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ht yes, BP Clatm No.:

| Typo (Please check all that apply}:
Damage or deatruction to real or personal property
Eamings/Proft Loss
Personat Injury/Dapth

if yes, Clalnant identification No.:

Faar of Future Injury and/or Medical Monitoring
Loge of Subsletence use of Natural Resources
Removal and/or ceen-up cosis

Other:

* This form should be filed with the U5. Oletrict Court for the Eastern District of Loutsiana in New Orleans, Loulslana in Civil Action Ne. 10-8886. While this Direct
ec. Doc, 246, C.A. Na, 10-2771 ond Rec. Dos. 983 In MDL 2179), the filling of this form

10-2771 and MDL 2179, Plaintiff Uaisen Counsel, after being notified electronically by the Gerk
ah the Lexis Nexis gervice system an Defense Liaisan.
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filing Short Form ts to be filed in CA No, 10-3888, by prior order of tha Court, (rR
in CA. No. 10-8868 shall be deemed to be shoultaneously fled in CA,
of Court of the filing of this Shart Form, shail pramptly carve this form throu

The Wing of this Olrect Filleg Short Form ahall also serve in ifau of the requiremant of a Plaintay to fie a Piaintif Profile Farm.

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Case 2:10-cv-08888-CJB-JCW Document 85363 Filed 04/20/11 Page 2 of 3

. Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

1. For eamings/profit oss, proparty damage and lose of subsistence use claims, describe the nature of the injury. For ciaims
involving real estate/proparty, Includa the praperty location, type of property {residentlal/eommercial), and whether physical
damage occurred. For claims relating to fishing of any type, Include the type and lozation of fishing grounda at isaue.

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2. For personal injury claims, deecriba the injury. how and when it was suetained, and Wentify all health care providers a
employers 2006 to present and complete authorization forms for each. wn -~aste. Gamay ™*

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employer. and where you were working.

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Case 2:10-cy-08888-CJB-JCW Document 85363 Filed 04/20/11 Page 3 of 3

Please chock the box(es) below that you think apply to you and your claims:
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Non-covernmental Econ

Commercial figherman, shiimper, crabber, or oysterman, of the owner and oparator of a business invaldng fishing, shrimping,
crabbing or cysiering,

Seafood processor, distributor, retall and seafood martwi, or rastaurant owner and operator, OF an employee thereof.

Recreations! businace owner, oparator or worker, inctuding a recreational fishing business, commercial guide service, oF charter
fishing business who eam thelr Iiving through the use of the Guif of Maxies.

Commercial business, business owner, cperstor or worker, including commercial divers, offshore olifigid Garvica, reoalr and
supply, raat agtate agents, and supply companies, or an employed thereof,

Recreadonal sport fishermen, recreational diver, baachgasr, of recreationat boater.
Plant and dock warkar, Including commercial seafood piant Workar, longshoreman. of ferry operator,

Owner, lessor, of lonsee of real propecty alleged to be damaged, harmed or Impacted, physically or economically, including
leesaat of oyater bads,

Hotel owner and opevetor, vacation rental ownar and agent, or a those who #arn gait living from the touriam industry.
Bank, financlal Inatitution, or retall business that suffered losges au a reautt of the «pil,

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Person who utilizes natural regourcas for evbaicterice.
x. Other: '? CSon of Orne ant UR AZo) Ware} Resavces Loe
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Pastis niosion Persona ua Niedical Mon Of and Frope Damane Related 5 Cleanup iBunule B:

Bost captain or crew involved in the Veseals of Opportunity program.
Worker Involved in decontaminating vessels thet came into contact with off and/or chemical dispersante.

odors and emissions during post-expiosion clean-up activities.

1.

2.
KS Vessel captain of crew who was not Invalved In the Vau.ssis of Opportunity program but who ware exposed to harmful chemicals,
Ks Clean-up worker or beach persenne! involved in clean-up activities along shorelines and Intercoastal and Intertidal zones.
bs

. _ Rasidant whe lives or works In close proximity to coastal waters,
Xe. Other: Bs

Both BP and the Gulf Coast Claims Facility (‘GCCF") are hereby authorized to release to the Defendants In MOL
2179 all information and documents submitted by above-named Plaintiff and Information regarding the status of any
payment on the claim, subject to such information dSelng trea.ad as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Vrial Order No. 11), and subject to full coples of same pelng made avaliable to both
the Plaintiff (or his attorney if applicable) fillng this form and PSC through Piaintiff Liaison Counsel.

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